CASE 0:23-cv-01433-JRT-DJF Doc. 17-2 Filed 06/28/23 Page 1 of 3




        EXHIBIT 1
        CASE 0:23-cv-01433-JRT-DJF Doc. 17-2 Filed 06/28/23 Page 2 of 3




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


                                                     Case No. 23-cv-1433
   In re: Lindell Management LLC Litigation          (JRT/DJF)

                                                     DECLARATION OF
                                                     CARY JOSHI




       I, Cary Joshi, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.     I am an attorney with Bailey & Glasser LLP. I am over the age of 18 and

make this declaration upon my personal knowledge.

       2.     The Panel that issued the unanimous Reasoned Decision and Final Award,

dated April 19, 2023 was comprised of three individuals. One of the arbitrators was chosen

by Lindell, one by Mr. Zeidman and the third was proposed by Lindell and accepted by

Zeidman.

       3.     Lindell Management LLC’s petition to vacate was served on Robert Zeidman

on May 24, 2023.

       4.     I declare under penalty of perjury that pursuant to the laws of the United States

of America that the foregoing is true and correct.

DATED: June 28, 2023

                                           BAILEY & GLASSER LLP



                                              1
CASE 0:23-cv-01433-JRT-DJF Doc. 17-2 Filed 06/28/23 Page 3 of 3




                            /s/ Cary Joshi
                            Cary Joshi
                            Attorney for Petitioner Robert Zeidman




                               2
